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Entered: August 6, 2018
Signed: August 6, 2018

SO ORDERED




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                         at Baltimore
                              In re: Case No.: 18−14610 − MMH                Chapter: 7
In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   3−D Concepts, LLC
   debtor has no known aliases
   1006 Parksley Ave
   Baltimore, MD 21223
   Social Security No.:
   Employer's Tax I.D. No.: 20−2707447


                                                FINAL DECREE

Petition for Relief under Chapter 7 of Title 11, U.S. Code was filed by or against the above−named debtor(s) on
4/6/18.

The estate of the above−named debtor(s) has been fully administered.

ORDERED, that Marc H. Baer is discharged as trustee of the estate of the above−named debtor(s); and the Chapter 7
case of the above named debtor(s) is closed.



                                                    End of Order
fnldec − jwhitfield
